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OLF 7 (Official Local Form 7)

                             UNITED STATES BANKRUPTCY COURT
                                 DISTRICT OF MASSACHUSETTS
In re Ocean Development Partners, LLC               Case No.
                                                                  Chapter 11
                                   Debtor
                                    DECLARATION RE: ELECTRONIC FILING
PART I - DECLARATION
              Nicholas J. Fiorillo
         I[We]______________________________________________and ____________________
_______________________________, hereby declare(s) under penalty of perjury that all of the information
contained in my LLC's  Petition
                __________________________       (singly or jointly the "Document"), filed electronically, is true
and correct. I understand that this DECLARATION is to be filed with the Clerk of Court electronically
concurrently with the electronic filing of the Document. I understand that failure to file this DECLARATION
may cause the Document to be struck and any request contained or relying thereon to be denied, without
further notice.
        I further understand that, pursuant to the Massachusetts Electronic Filing Local Rule (MEFR) 7(b), all
paper documents containing original signatures executed under the penalties of perjury and filed electronically
with the Court are the property of the bankruptcy estate and shall be maintained by the authorized CM/ECF
Registered User for a period of five (5) years after the closing of this case.


Dated: 1/14/2022                                 _______________________________________
                                                 (Affiant)

                                                 _______________________________________
                                                 (Joint Affiant)

PART II - DECLARATION OF ATTORNEY (IF AFFIANT IS REPRESENTED BY COUNSEL)
        I certify that the affiant(s) signed this form before I submitted the Document, I gave the affiant(s) a
copy of the Document and this DECLARATION, and I have followed all other electronic filing requirements
currently established by local rule and standing order. This DECLARATION is based on all information of which I
have knowledge and my signature below constitutes my certification of the foregoing under Fed. R. Bankr. P.
9011. I have reviewed and will comply with the provisions of MEFR 7.


Dated: 1/14/2022
                                                        /s/Carmenelisa Perez-Kudzma
                                                 Signed:___________________________________________
                                                 (Attorney for Affiant - /s/used by Registered ECF Users Only)
